                           Case 17-03025-hcd            Doc 1-8          Filed 07/31/17          Page 1 of 1



         Unofficial Berkeley County Property Card


                                                  Summary Information:
TMS: 142-11-02-017                                Council District: C8   Neighborhood: D322 - COMMERCE CREEK WAY
Owner Information:                                Fire District: F15     Appraiser ID: JW
VILLAGE APARTMENTS OF CHARLESTON LLC              Tax District: T15      Lot: Block: Section:
304 N Main ST                                     TIS Zone: 9            Zoning: Moncks Corner - R-3
                                                  Jurisdiction: 1P       Homestead Exempt: No
Middlebury, IN 465409003                          Acres: 0.00            Parent TMS:
                                                  Lots: 1.0              Notes:LOT 25-26-27 COMBINED SOLD AS O.82-ACRES 03/90
                                                                         VACANT - PARCEL 8/92
                                                                         OK REASMT 7/98 GDM
                                                                         QUALIFYING TIMBER TRACT 142-11-02-093 4/2001
                                                                         NO CHANGE REASSESSMENT 2004 08/02
                                                                         AG-USE QUALIFING TRACT 142-11-02-093 8/07
                                                                         TO ADD 16 ADDITIONAL APTS ON PROPERTY 6/2008




                                                             Site addresses:




Previous Owner History:
Owner: VILLAGE         Sale Date:   Sale Price:     Deed Book-Page:                   Transfer Notes: CONSIDERATION OF $2,600,000.00 IS
                                                                         Plat:
APARTMENTS LLC         05/12/2015   $0.00           11386 - 41                        FOR 142-11-02-031, -028 & -017
Owner: VILLAGE         Sale Date:   Sale Price:     Deed Book-Page:
                                                                         Plat:        Transfer Notes:
APARTMENTS LLC         05/12/2015   $1.00           11386 - 48
Owner: RIPLEY VIVIAN   Sale Date:   Sale Price:     Deed Book-Page:      Plat: FILE
                                                                                      Transfer Notes: 3.0 LT Recorded on Plat FILE - CAB
B & PHIL               05/29/2008   $56,000.00      7383 - 0132          - CAB
Owner: SOUTH           Sale Date:   Sale Price:     Deed Book-Page:      Plat: FILE
                                                                                      Transfer Notes: 1.0 LT
ATLANTIC PRODUCT       11/14/1989   $0.00           A834 - 0001          - CAB
Owner: SUDDETH         Sale Date:   Sale Price:     Deed Book-Page:      Plat: FILE
                                                                                      Transfer Notes: .27 Acres Recorded on Plat FILE - CAB
ROBERT M J & W         10/16/1989   $2,700.00       A829 - 0337          - CAB
Owner: SOUTH           Sale Date:   Sale Price:     Deed Book-Page:      Plat: FILE
                                                                                      Transfer Notes: 1 LT Recorded on Plat FILE - CAB
ATLANTIC PROD CR       06/21/1988   $245,000.00     A760 - 0037          - CAB
Owner: GRUBER          Sale Date:   Sale Price:     Deed Book-Page:      Plat: CAB
                                                                                      Transfer Notes: 1 LT Recorded on Plat CAB D - 14
LEROY H BY MAS         12/04/1986   $420,700.00     A680 - 0168          D - 14
Owner: MATHIS W D      Sale Date:   Sale Price:     Deed Book-Page:      Plat: X -
                                                                                      Transfer Notes: 1 LT Recorded on Plat X - 118
QUIT-CLAIM             06/05/1979   $5.00           A380 - 0144          118



                                                      Sales Information:
Last Sale Date: 05/12/2015                                Plat Information:                             Sales Validity: 9
Recording Date: 05/19/2015                                Deed Book: 11386                              Validity Other: 9D
Sale Price: $1.00                                         Deed Page: 48



                                                  Valuation Information:
Building Market: 0             Building Taxable (4% Res): 0                     Land Taxable (4% Res): 0
Land Market: 75,000            Building Taxable (6% Other): 0                   Land Taxable (6% Other): 75,000
                               Building Taxable (4% Ag): 0                      Land Taxable (4% Ag): 0
                               Building Taxable (6% Ag): 0                      Land Taxable (6% Ag): 0
                                                      Total Taxable Value: 75,000 Total Assessment: 4,500



                                                         Fee Summary:
                                                                                                               EXHIBIT 8
